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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

MICHAEL AMOS et al.                                                              PLAINTIFFS

VS.                                           CIVIL ACTION NO. 4:20-cv-00007-DMB-JMV

NATHAN “BURL” CAIN, Commissioner
of the Mississippi Department of Corrections, et al.                           DEFENDANTS



                     ORDER GRANTING PLAINTIFFS’ UNOPPOSED
                      MOTION FOR SUBSTITUTION OF PARTIES


       Before the Court is the Unopposed Motion [Doc. 167] of Plaintiffs to substitute named

Defendants pursuant to Fed. R. Civ. P. 25(d). The motion is unopposed by Defendants.

       Upon consideration, the Court finds that the Motion [Doc. 167] is well-taken and should

be GRANTED.

       IT IS THEREFORE ORDERED that Nathan “Burl” Cain, the current Commissioner of

the Mississippi Department of Corrections, is hereby substituted as a party defendant in lieu of

defendant Tommy Taylor, the former Commissioner of the Mississippi Department of Corrections.

Further, Timothy Morris, the current Superintendent of the Mississippi State Penitentiary, is

hereby substituted as a party defendant in lieu of defendant Marshal Turner, the former

Superintendent of the Mississippi State Penitentiary.

       SO ORDERED this the 21st day of October, 2020.

                                     _/s/ Jane M. Virden_____________________________
                                     UNITED STATES MAGISTRATE COURT JUDGE




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